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 5 Attorneys for Defendant
     CARLOS TAFOYA-RAMOS
 6

 7

 8                        IN THE UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA                    CASE NO. 1:15-CR-288-LJO-SKO
12                             Plaintiff,        STIPULATED ORDER MODIFYING
                                                 PRETRIAL RELEASE CONDITIONS
13                       v.
14   CARLOS TAFOYA-RAMOS,
15                             Defendant.
16
           Defendant, CARLOS TAFOYA-RAMOS, by and through counsel of record,
17
     NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and
18
     through its counsel of record, KATHLEEN SERVATIUS, Assistant United States
19
     Attorney for the Eastern District of California, hereby stipulate as follows:
20

21         WHEREAS, based upon recommendation of Pretrial Services and the
22
     defendant’s exemplary compliance with all terms of ordered pretrial release, the
23
     parties are in agreement and request this Court approve the following modified
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25 pretrial release conditions and modifying as follows:

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 1         IT IS HEREBY STIPULATED:
 2
           Defendant CARLOS DAVID TAFOYA requests that the following
 3
     conditions be removed from his conditions of pre-trial release:
 4

 5         The defendant shall: participate in the following Location Monitoring
 6
     component and abide by all the requirements of the program, which will include
 7
     use of a location monitoring system. You shall comply with all instructions for
 8

 9 use and operation of said devices as given to you by the Pretrial Services Agency

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     and employees of the monitoring company. You shall pay all or part of the costs
11
     of the program based upon your ability to pay as determined by the PSO. HOME
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13 DETENTION. You shall remain inside your residence at all times except for

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     employment; education; religious services; medical, substance abuse, or mental
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     health treatment; attorney visits; court appearances; court ordered obligations; or
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17 other activities pre-approved by the pretrial services officer.

18
           All other pre-trial release conditions shall remain in full force and effect.
19
     IT IS SO STIPULATED.
20
                                                   Respectfully Submitted,
21
     Dated: March 15, 2017                         /s/ Nicholas F. Reyes
22
                                                   NICHOLAS F. REYES, ESQ.
23                                                 Attorney for Defendant
24
     IT IS SO STIPULATED.
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26
     Dated: March 16, 2017                         /s/ Kathleen Servatius
                                                   KATHLEEN SERVATIUS
27                                                 Assistant United States Attorney
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 1                                       ORDER
 2

 3 IT IS SO ORDERED.

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     Dated:   March 16, 2017                       /s/   Sheila K. Oberto      .
 5                                         UNITED STATES MAGISTRATE JUDGE
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